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 UNITED STATES DISTRICT COURT
 FOR THE EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------X
  NOVAGOLD RESOURCES, INC.                                          Oral Argument Requested

                   Plaintiff,                                Index No. 1:20-cv-02875-LDH-PK

           - against -

  J CAPITAL RESEARCH USA, LLC,

                    Defendant.
 -------------------------------------------------------X



               DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF ITS
               MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT




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        January 15, 2021
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 Date of Service: January 15, 2021
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  DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS
                   FIRST AMENDED COMPLAINT

        Defendant J Capital Research USA LLC (“JCap”) submits this Memorandum of Law in

 support of its Motion To Dismiss the First Amended Complaint (“FAC”) of Plaintiff Novagold

 Resources Inc. (“Novagold” or “NG”). See Order dated Dec. 29, 2020. Dismissal is warranted

 because: 1) The FAC fails to plead any actionable statements in JCap’s “Pipe Dream” Report

 (“Report”) or tweets; 2) it fails to plead actual malice, as it must under New York state and

 federal law; and 3) it fails to state a claim for trade libel, and pleads no cognizable damages.

                                            ARGUMENT

 I.     THE FAC FAILS TO PLEAD ANY ACTIONABLE REPORT STATEMENTS

        The Challenged Statements Are Protected Opinion on Three Independent Grounds.

        JCap’s Report and the challenged statements in it are protected opinion on three

 independent grounds: a) They are opinion because JCap’s statements and the context in which

 they were made fall squarely in line with the seven Silvercorp/Yangtze Line of short seller cases

 decided by New York state and federal courts; b) they are “pure opinion” because the Report

 discloses, cites and/or hyperlinks to the publicly available documents on which its conclusions

 are based (and Plaintiff does not challenge the truth or authenticity of those underlying public

 documents; the FAC just quarrels over their meaning) (FAC ¶¶21-31); and c) the statements at

 issue are predictions and projections about the future prospects of Novagold’s still unrealized

 mining plan. (Under the leading New York case, the equation is simple: Predictions =

 Opinions.)

        New York Courts Have Repeatedly Applied The Immuno Test To Short Seller Reports.

 When analyst reports disclose that the writer is a short seller, especially when they make that

 disclosure as robustly as JCap did; when they use words that “signal” opinion, like Pipe

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 Dreams, etc., as JCap did; when they disclose, cite and hyperlink to publicly available

 documents on which their conclusions are based, as JCap did; when they are published on the

 internet and accompanied by social media tweets to which plaintiff responded, as was so here;

 when they offer predictions about the future outcome of a proposed and as yet unrealized plan as

 JCap did; and when they criticize the future prospects of a publicly traded company, then they

 are uniformly and consistently ruled to be non-actionable and constitutionally protected opinion.

 Every one of the seven New York short seller cases, came to that same conclusion. 1 They are

 referred to herein as the “Silvercorp/Yangtze Line” or as the “Silvercorp Cases.”

         The legal analysis that dictates that consistent outcome is built on New York’s opinion

 test enunciated by the Court of Appeals in Immuno AG v. Moor-Jankowski, 77 N.Y.2d 235

 (1991) (accusations made in a science journal) and Brian v. Richardson, 87 N.Y.2d 46 (1995)

 (accusations of criminality in an op-ed article). Immuno and Brian are steadily followed by the

 Second Circuit in cases such as Chau v. Lewis, 771 F.3d 118 (2014) (a case against the author

 Michael Lewis and his short seller source); and Levin v. McPhee, 119 F.3d 189 (1997).

         Opinion is constitutionally protected and favored. Immuno announced that “the

 protection afforded by the guarantees of free press and speech in the New York Constitution is

 often broader than the minimum required by Federal Constitution.” Id. at 249; see also Sandals




 1
  See, e.g., Silvercorp Metals Inc. v. Anthion Management, 959 N.Y.S. 2d 92, 2012 WL 3569952 (Sup. Ct. N.Y. Cty.
 Aug. 16, 2012) (Edmead, J.); Yangtze River Port and Logistics Ltd. v. Hindenburg Research, No. 150721/2019,
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 App’x 731 (2d Cir. 2016) (though not a short seller case, the defendant’s accusations against the plaintiff company
 were held to be opinion under the N.Y. opinion test).



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 Resorts Int’l Ltd. v. Google, Inc., 86 A.D.3d 32, 40 (1st Dep’t 2011). The approach now used in

 New York for determining whether statements are protected opinion is based on a four part

 formula: “(1) [W]hether the statement at issue has a precise meaning so as to give rise to a clear

 factual implication; (2) the degree to which the statements are verifiable, i.e., ‘objectively

 capable of proof or disproof’; (3) whether the full context of the communication in which the

 statement appears signals to the reader its nature is opinion; and (4) whether the broader context

 of the communication so signals the reader.” Sandals at 39-40, citing Immuno at 243 (internal

 citations omitted). The inquiry is therefore no longer limited to whether the challenged

 statement, standing alone, is factual or not. Some are. But they are nonetheless deemed opinion.

        In Kirsch v. Liberty Media Corp., 449 F.3d 388 (2d Cir. 2006), the fourth and most

 significant factor is described as follows (emphasis added):

        [C]onsideration of the broader social context or setting surrounding the
        communication including the existence of any applicable customs or conventions
        which might signal to readers or listeners that what is being read or heard is likely
        to be opinion.

 Id. at 403 n.7; Bellavia, 151 F. Supp. 3d at 293. See also Chau, 771 F.3d at 129, citing

 Steinhilber v. Alphonse, 68 N.Y. 2d 283, 292 (1986).

        The Immuno standard is to be applied generously in favor of the constitutional values that

 the opinion privilege is intended to protect. See N.Y. State Constitution Art. 1, Sec. 8.

 “Determining whether a statement is an allegation of fact or mere opinion is a legal question for

 the court.” Chau, 771 F.3d at 128, quoting Brian at 51.

        Under this standard, “[s]ifting through a communication for the purpose of isolating and

 identifying assertions of fact should not be the central inquiry.” Nanoviricides at *4 citing

 Sandals at 41-42. As the Immuno Court observed, “We are concerned that -- if indeed ‘type of




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 speech’ is to be construed narrowly -- insufficient protection may be accorded to central values

 protected by the law of this State.” Id. at 250.

        The Immuno Test Applied to Short Seller Libel Cases. In the New York cases that have

 applied the Immuno test to short seller analyst reports and attacks, all of them involved

 allegations that were more aggressive and more factual sounding than the statements at issue in

 JCAP’s Report. All of them turned on the identical operative indicia of opinion that are equally

 manifest in this case. All of them concluded that the allegedly defamatory facts were

 nonactionable opinion. Nothing distinguishes any of them from this case; and Plaintiff in its pre-

 motion letter did not even try.

        In Silvercorp, defendant’s report accused Silvercorp of: 1) “massive accounting
        fraud”; and 2) “misrepresenting the quality of its silver deposits and drilling costs
        and falsely representing its financial position.” Id. at *1. All these statements were
        deemed “opinion.” Id. at 15-16.

        In Yangtze, defendant’s report accused Yangtze of: “On-the-ground research
        shows assets to be largely fabricated.” Id. at *1. “[T]he supposed leased land is . .
        . a total fabrication.” Id.; that the plaintiff’s company is “a shell”, “a scheme . . . .
        used to pay the chairman.” Id. at *8. All these statements were deemed “opinion.”
        Id. at *7.

        In MiMedx, defendants accused MiMedx of: 1) being “engaged in fraudulent
        channel stuffing”; 2) “definitely revenue fraud”; and 3) “failed to disclose it was
        subject to SEC investigation.” 2018 WL 847014 at *2; *7. All these statements
        were deemed “opinion.” Id. at *7.

        In Eros, defendants accused Eros of: 1) “self-dealing” and “improper
        enrichment”; 2) “channels money to family members through dummy production
        deals.”; and 3) “burned through $312 million and is headed for a liquidity crisis.”
        Id. at *7-8. All these statements were deemed “opinion.” Id.

        In Bellavia, defendants accused Bellavia of: 1) “fraudulent litigation”; and 2)
        “induc[ing] dealers to join this lawsuit . . . with the misleading promise of
        millions in reward.” Id. at 290. All these statements were deemed “nonactionable
        opinions” “as a matter of law.” Id. at 292. As with the many other opinion
        decisions, “The burden rests with the plaintiff to establish that in the context of
        the entire communication a disputed statement is not protected opinion.” Id. at
        292 quoting Celle v. Filipino Reporter, 209 F.3d 163, 179 (2d Cir. 2000).
        Bellavia, in line with the Second Circuit rulings, and the other Silvercorp Cases,


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          explains that the application of the four opinion factors “is not rigid and
          mechanical, and no single factor is dispositive.” Id. at 293.

          In Sabratek, defendant short sellers accused Sabratek of: 1) “using misleading
          numbers” concerning its net income; 2) “falsifying sales figures”; 3) “engag[ing]
          in fraudulent activity; and 4) “complete fraud” to “pump the stock price.” Id. at
          *1. All these statements were deemed “opinion.” Id. at *6-7.

          In Nanoviricides, 2 a pseudonymous short seller posted an article about
          Nanoviricides under the name “Pump Terminator.” The analyst’s article was
          posted on SeekingAlpha.com, a financial website which features articles posted by
          analysts and others about various investments. Nanoviricides sued Seeking Alpha
          for pre-action disclosure to get the identity of the short seller so that
          Nanoviricides could sue the short seller critic. Among other things, Pump
          Terminator accused the company of: 1) pump[ing] the stock +330% while heavily
          diluting shareholders and stealing NNVC out from under public investors as
          insiders siphoned off millions”; 2) the CEO “hires his wife as CFO while Auditor
          and Internal Controls are failing”; 3) “NNVC shareholders are fed a steady diet of
          . . . promises and promotion that never materialize into anything meaningful”; and
          4) called it “similar to the China RTO Frauds”; etc. Id. at *1-2. Seeking Alpha
          opposed the disclosure of its contributor. The Court denied disclosure of the short
          seller’s identity, finding that all the allegedly defamatory statements were non-
          actionable opinion.

          Comparison of JCap’s Statements with Statements in the Silvercorp/Yangtze Line.

 Here are the words that the FAC describes as “the Report’s central falsehood – that the mine

 cannot be constructed” (itself a prediction; not a fact):

          “For the past 15 years, NOVAGOLD’s management team has systematically
          misled investors with subjective presentation of information about a deposit so
          remote and technically challenging that the mine will never be built.”

 FAC ¶¶19-20 (emphasis added). So from the start, the “central falsehood” embodied in this

 putative summary statement, signals to readers, that the Report is opinion:



 2
   Our firm acted for Seeking Alpha in Nanovirides and in other actions to oppose efforts to unmask short seller
 analyst contributors. As in Nanoviricides, those cases too were dismissed on the grounds a) that the articles at issue
 were non-actionable opinion and b) that the anonymity of Seeking Alpha’s contributors deserved protection.
 (Seeking Alpha has protected the anonymity of its contributors where it concludes that the articles were posted in
 good faith.) In those cases, courts followed the same opinion analysis applied in the Silvercorp Cases: Bofi Fed.
 Bank v. Seeking Alpha Inc., No., 1:16-misc-00025, Dkt. No. 27, at 27:31 (S.D.N.Y. Feb. 9, 2016) (Oetken, J.); Deer
 Consumer Prods., Inc. v. Little Grp., No. 650823/2011, 2012 WL 5983641 (Sup. Ct. NY Cty. 2012) (this firm
 represented Seeking Alpha at an earlier stage of the case).



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      First, investors are “misled” not by objective statements, but by “subjective
       presentations.” A “subjective presentation” is more on the order of an optimistic
       projection. Those are words of opinion, not fact. Facts are objective; but opinions
       are subjective. So JCap is contesting NG’s opinions about its feasibility and future
       prospects.

      Second, what are those “subjective presentations” about? The rest of the sentence
       tells us: they are “subjective presentations” about “a deposit so remote and
       technically challenging that the mine will never be built.” To say that something
       is “so remote and technically challenging” is the essence of opinion. Is a jury
       supposed to certify that the mine is not “so remote or technically challenging” and
       is a sure bet? A jury should not be in the business of doing feasibility studies or
       certifying the merit of a business plan.

 If, and when, NG and its principal Mr. Kaplan are sitting atop a large pile of gold, they can

 proudly say, years from now, “They said it couldn’t be done. But we did it!” Ambitious plans

 can draw robust criticism. Such is what skeptics often say of ambitious entrepreneurs and

 inventors – Elon Musk, Thomas Edison, and other venturing entrepreneurs among them. All

 faced the same naysayers. 3 Some succeed; some don’t. But those entrepreneurial bets are bets,

 the typical subjects of ardent opinion. That is what analysts and financial commentators do. They

 say, X is a great idea; go long. Or X is a terrible idea; go short.

          Simply put, publicly traded companies and their ambitious plans are the proper and

 expected subjects of robust and often rancorous opinion in the “Shark Tank” that is the “broader

 social context” for these arguments that the Immuno opinion test compels us to take into account.

 That is a prime reason why statements that appear to be factual in the first instance are deemed

 non-actionable opinion by courts.




 3
   In Chau, the Second Circuit categorized “derogatory statements” to be “opinion” and offered the following
 observation: “While someone may not appreciate being called a fool, it is an expression of one's view of another,
 and moreover might not reflect reality: history has shown many “fools” to have been visionaries. Time may prove
 the insult misguided, but the insult is not itself a fact—but rather, is one's perception of facts—at the time it is
 uttered." Chau at 129.



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        The main word that the FAC relies on to allege a libelous fact is the word “misled.” But

 most of the Silvercorp Cases also engage accusations of “misleading” statements, some of them

 more forceful and factual sounding than JCAP’s.

        Many of the statements challenged in the Silvercorp Cases could, when viewed standing

 alone or studied in isolation, be seen as assertions of fact. But when they are subjected to the

 four-factor Immuno and Brian test which demands an examination of the “broader social

 context” in which they are made, they gain recognition as protected opinion. In short, the

 required analysis rejects isolated examination of particular statements and instead looks for

 broader “signals to a reader” that the statements are “likely to be opinion.” Kirsch at 403 n.7; see

 also Chau, 771 F.3d at 129, citing Steinhilber, 68 N.Y.2d at 292.

        Examining the Broader Social Context in Which Short Seller Reports Are Made. In

 examining the broader social context in which short seller reports are made, courts consistently

 look first at the disclosures and disclaimers that the short-sellers made:

        Nanoviricides: “The disclosure directly proceeding the article explicitly identifies
        the article as an expression of the author's own opinion. Thus, at the outset, a
        reader is signaled that the statements to follow are the authors opinion.” Id. at *5.
        And “the author states: ‘Disclosure: I am short NNVC.’” Id. at *1.

        Yangtze: The plaintiff alleged that the defendant, as here, was engaged in a
        “classic short and distort” scheme. Id. at *4. But, the Court observed: Hindenburg
        Research's report disclosed "We are short YRIV.” As here, the report thus
        “signaled” that it was the “opinion” of the writers. Id. at *9-10.

        Silvercorp: "The documents themselves reveal the disclosure of the author’s self
        interest in that the author ‘works for a firm that currently has a short position’ in
        Silvercorp. Such motive as noted in Immuno, Brian, and Sandals, indicates to the
        reader that the author is expressing his opinion.” Id. at 9. (Hence, contrary to
        Novagold's argument, the fact that the writer is a short seller and discloses that he
        is a short seller militates in favor of a finding that the report is one of opinion. It is
        a key “signal” of opinion in the Silvercorp Cases.)

        Sabratek: The defendant's disclosure in Sabratek was less robust. It simply said,
        “we may now have and from time to time have directly or indirectly a long or



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         short position in the securities mentioned.” Id. at n.2. But, that too was deemed to
         signal opinion.

         MiMedx: The defendant's disclosure that it was short MiMedx stock, strongly
         counted toward the ruling that the statements at issue were opinion. See id. at *9-
         12.

         Eros: The court held that disclosure of financial interest or other motive behind a
         report is a “signal” of opinion. Id. at *12. The court concluded: “Our courts have
         traditionally viewed an author’s announced self-interest as evidence that the
         author’s statements likely constitute opinions.” Id. at *8 n.6.

 The bottom line is that in all these decisions, the disclosure that the writer is a short seller drives

 the rulings decisively toward opinion. It “signals” opinion. Significantly, JCap’s disclosures are

 even more forceful than those in the Silvercorp Cases (J Capital Research,

 https://jcapitalresearch.com (last visited Jan. 15, 2021)) (“JCap Website”):

         Be warned. We are activists, usually on the short-side. We are biased. . . . we
         will profit if these stocks decline or, when we are long, rise in value.

 JCap’s other disclaimers also signal “opinion.” In its Terms of Service, JCap states “any report

 on this site contains a very large measure of analysis and opinion.” See Declaration of David S.

 Korzenik dated Jan. 15, 2021(“Korzenik Decl.”) ¶1(a), Ex. A at 1). Its Terms, which precede the

 Report itself, require users to agree that they “represent to J Capital Research USA LLC that you

 have sufficient investment sophistication to critically assess the information, and analysis and

 opinion on the site.” Id. Signals of opinion are emblazoned throughout the Report and Website.

         The world of financial news commentary is by its nature combative, aggressive, critical,

 full of opinion, swagger and contested views and assessments of competing bets placed in the

 markets. This is not only the case on TV and radio commentary about stock prices and trends,

 but it is especially so in the setting of the internet and on social media.

         Plaintiff NG adds to its claims a number of tweets that it alleges to be defamatory – the

 tweets comment on and link to the Pipe Dreams report. But the “broader social context” of the



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 internet only adds more force to the conclusion that the statements at issue are matters of obvious

 opinion – especially when a report is supplemented with related tweets or other social media

 offerings. New York courts, those that ruled in the Silvercorp Cases, reinforce that point:

        In addition, the allegedly defamatory statements were advanced on social media
        . . . which New York courts typically protect as statements of opinion, rather than
        fact (See In re Woodbridge Structured Funding, LLC, 125 A.D.3d 508, 509
        (2015)). Yangtze at *7.

        New York courts have consistently protected statements made in online forums as
        statements of opinion rather than fact.” Bellavia at 295 citing Sandals at 415-16,
        “so-called social media, such as Facebook and Twitter, is increasingly deemed to
        attract “less credence to allegedly defamatory remarks” than other contexts . . .”);
        accord Silvercorp at *8.

        A Report Is “Pure Opinion” When its Conclusions Are Based on Underlying

 Documents and When the Reader Is Therefore Free to Decide for Themselves. The Report is

 based on a set of publicly available documents that it identifies and expressly references. Some

 of them are hyperlinked in the Report. Significantly, these are the very same publicly available

 documents that Plaintiff NG lists in its FAC (see ¶10) and elsewhere in the FAC. No less

 significantly for this Motion to Dismiss, Plaintiff does not challenge the truth or authenticity of

 any of these documents. That is not surprising, since they are Novagold’s own documents and

 some of them are government studies. So, NG’s FAC, relies on the very same documents to

 argue why JCap is wrong. That is the essence of pure opinion.

        Remarkably, NG’s entire FAC consists of arguing over the meaning and conclusions that

 one should draw from those underlying documents and studies. Thus, NG’s own pleading

 asserts that its quarrel with JCap is over the conclusions that one should draw from those same

 documents and studies. And that makes this motion to dismiss very easy to decide, since the

 FAC thus demonstrates that the Report is entirely a matter of disputed opinion. FAC ¶21-35.




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        NG’s public relations response to the Report (see FAC ¶¶41-45, “Novagold Fights

 Back”) reflects the very same quarreling over how NG documents are to be read. No defamation

 case can be built from that.

        The Yangtze Court made the very same point. It recognized that plaintiff was arguing in

 its own FAC that the publicly available documents support plaintiff’s reading of the documents –

 not defendant’s reading of them. See id. at *12. The Court further noted that plaintiff did not

 challenge the truth or authenticity of those underlying documents. See id. Plaintiff just

 disagreed with how they should be read. That is the essence of opinion, and of why this FAC

 must be dismissed. NG is doing exactly what Yangtze did that got its FAC dismissed.

        Judge Sherwood in Yangtze actually lists the documents that both sides cited and relied

 on to make his point. He observed, “The Report includes charts, graphs, . . . hyperlinks to a

 multitude of publicly available sources.” Id. at *2. That’s what the JCap Report does and that is

 what the FAC does. There is no dispute over authenticity of those materials. The motion to

 dismiss can be granted on this ground alone.

        In Eros, the Court saw right through the plaintiff’s claims and called out the fact that the

 Defendants reports and articles analyze “publicly available” materials which are “all disclosed”

 and some hyperlinked. See id. at *7. “Crucially . . . Eros does not dispute the existence of the

 source material” it just quarreled over how it should be read. See id. at *8.

        Eros relied on Yangtze for the same ruling: As in Yangtze, Judge Cohen recognized that

 the Plaintiff’s FAC “belie[s] its claims” since it merely argues with defendant’s conclusions. Id.

    That is exactly what NG’s FAC does here, it belies its claims since it argues over JCap’s

 conclusions. Among the most remarkable examples:

     ¶10: NG admits that the feasibility of the Donlin Gold project is documented by
      “thousands of pages of environmental, technical, and social studies” – the “key



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       findings” of which “are well documented in the publicly available” materials that
       the paragraph lists. The Report references and relies on these same materials.

     ¶21 sets up NG’s argument over the meaning of its “feasibility study” – cited and
      relied on by both sides – and over JCap’s interpretation of what “the feasibility
      study clearly shows.”

     ¶22: “The $8 billion figure [from the most recent 2012 Feasibility study]
      referenced by JCap in its report includes operating costs as required under
      [GAAP] . . .” So, anyone who reads the 2012 Study can see what the argument is
      about. In all events, costs are costs.

     At ¶23, NG quibbles over the “meager drill assays in 2017.” NG says, they “were
      not meager; they were proportional to Donlin Gold’s goal” (emphasis added).
      That’s opinion.

     At ¶21, NG complains about Report’s claim that “management’s biggest
      misrepresentation is around the cost to build the pipeline.” But that too is an
      opinion because it is based on a comparison with the comparable pipeline (the
      Mackensie pipeline) which was costed out in 2013 for double the amount that NG
      estimated for its long pipeline. That’s argument; that is opinion.

     ¶25 begins NG’s argument over whether “the deposit is so remote and technically
      challenging that the mine will never be built.” That line which summarizes the
      second group of alleged falsehoods is itself nothing more than flat out opinion.
      And what does NG base its counter-argument on? Once again, “the thousands of
      pages of publicly available studies supporting the Donlin Gold project.”

     ¶25 goes on to attack JCap’s claim that “the Donlin deposit… is not feasible to
      put into production at any gold price.” And what does NG base its argument on?
      Once again, it’s disputed reading of the same “publicly available feasibility study
      conducted by credentialed industry-leading professionals…” NG’s statement is
      opinion and so is JCap’s. It is all quarrelsome opinion.

     At ¶26, NG tangles with JCap on its argument that the “proposed natural gas
      pipeline central to powering the project is dead on arrival,” and that “the terrain
      around the dominant deposit is among the most inhospitable on the planet.”
      These statements of patent opinion are challenged at paragraph 27. And what
      does NG rely on? The same old feasibility study that both sides are arguing over.
      This is not serious pleading. It’s a public relations argument dropped into a
      complaint. It proves that this lawsuit is about different readings of the same
      documents, and is therefore attacking straight garden-variety opinion.

     ¶¶32-35 is NG’s argument about the exercise of NG stock options. No one denies
      that they exercised options. The quarrel is over what that means – “voting with
      their feet” or not. Readers can figure that out on their own.



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      In sum, each FAC paragraph about the Report is a fight over the meaning of the
       same studies and documents that both sides point to. The FAC impugns itself. It
       pleads for its own dismissal.

         NG’s PR Rebuttal Cited in the FAC Further Makes JCap’s Point. It is notable that

 NG’s public relations response (see FAC ¶¶41-45, “Novagold Fights Back”), makes the same

 arguments based on the same underlying documents. NG apparently wrote its PR piece and then

 copied its arguments into the FAC. In Silvercorp, the plaintiff did the same thing. It issued the

 same type of “rebuttal” as did NG, and that was another factor that contributed to the court’s

 dismissal of the complaint as opinion. The Silvercorp court said: “The point-counterpoint nature

 of Silvercorp’s press release and . . . posting is characteristic of opinionated debate.” Id. at 2.

 The FAC (see ¶¶41-45) replays the repartee between JCap’s tweets and NG’s rebuttal. In short,

 NG’s FAC is itself a debate with JCap over the meaning of publicly available documents. And

 that attests to its character as pure opinion.

         Under Immuno, Predictions are Opinions: The Report Is a Prediction About the

 Prospects of an As Yet Unrealized and Ambitious Plan. Novagold does not yet have a business.

 It does not yet have an operating gold mine. It does not yet have product to sell, gold or

 otherwise. It has no customers. But, it has plans and studies and projections. Energy, for

 example, would be needed to extract the gold – hence, the need for fuel to be piped some 315

 miles up to the mine site deep in Alaska to get it started. JCap recognized that the Donlin Gold

 site was located in a remote, technically challenging and inhospitable part of Alaska. So, its

 report examined NG’s plans, its feasibility studies and other public documents to assess the

 prospects of the company’s plans in the face of these obvious obstacles. Hence the title: Pipe

 Dream. Not all analyst reports critique a company’s future plans – but when they do, they are

 even more decisively in the zone of opinion. The case law recognizes that.



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        Immuno, the leading New York State Court of Appeals ruling on opinion, recognized that

 idea when it stated,

        We conclude that the body of the letter in issue communicated . . . accusations…
        and that the writer’s presumptions and predictions as to what “appeared to be” or
        “might well be” or “could well happen” or “should be” would not have been
        viewed by the average reader of the Journal as conveying actual facts about
        plaintiff.

 Id. at 255 (emphasis added). Predictions and presumptions about future activities and conditions

 are by their very nature the stuff of opinion, judgment and assessment. Chief Judge Kaye

 warned that to plumb such writings for “factual assertions” or implications would interfere with

 the expression of “highly partisan points of view” that the N.Y. State Constitution protects.

 MiMedx, 2018 WL 847014 at *7, cited Immuno on this very point (74 N.Y.2d 548, 560, aff’d

 after remand by 77 N.Y.2d 235 (1991)):

        Speculations as to the . . . potential future consequences of proposed conduct
        generally are not readily verifiable, and are therefore intrinsically unsuited as a
        foundation for libel.

 That core principle recognized by Immuno is of particular moment here where the dispute

 between Novagold and JCap is very much about the potential future outcome and consequences

 of Novagold’s proposed plans. They are “not readily verifiable and they are therefore

 intrinsically unsuited as a foundation for libel.” Id.

        The Statements Lack Defamatory Meaning and Are Not “Of or Pertaining” to

 Novagold. The FAC claims that the alleged “falsities contained in the Report revolve around

 three central themes” of the JCAP. The FAC groups the 15 alleged falsehoods into three themes.

 And they are quoted in ¶¶10-35 of the FAC. Not only are they all Opinion and argument, but

 most of them also 1) lack any defamatory meaning and 2) they are not “of and pertaining” to the

 Plaintiff. They may be about Alaska, the river conditions during the winter as well as electric




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 power needs, what they might be and how they might be supplied. But they are not defamatory;

 and they are not about the plaintiff. And, they are in all events opinions.

 II.      THE FAC MUST BE DISMISSED FOR FAILURE TO PLEAD ACTUAL
          MALICE

        Novagold’s Pleading Fails for Three Independent Reasons.

       The burden of proving actual malice with clear and convincing evidence falls on this plaintiff

 for three independent reasons: 1) New York’s Anti-SLAPP law imposes that standard on both

 public and private figures in libel actions when the subject is a matter of “public interest”; 2)

 Novagold by its own pleading and activities is at minimum a “limited purpose public figure”;

 and 3) such publicly traded companies have long been deemed public figures.

          New York’s Anti-SLAPP Law. This action is one “involving public petition and

 participation” under the expanded provisions of New York’s Civil Rights Law, which now

 include “(1) any communication in a place open to the public or a public forum in connection

 with an issue of public interest;” and “(2) any other lawful conduct in furtherance of the exercise

 of the constitutional right of free speech in connection with an issue of public interest.” N.Y. Civ.

 Rights Law §76-a(1)(a). The new law states: “‘Public interest’ shall be construed broadly, and

 shall mean any subject other than a purely private matter.” N.Y.Civ. Rights Law §76-a(1)(d).

          In such an action, “damages may only be recovered if the plaintiff, in addition to all other

 necessary elements, shall have established by clear and convincing evidence that any

 communication which gives rise to the action was made with knowledge of its falsity or with

 reckless disregard of whether it was false, where the truth or falsity of such communication is

 material to the cause of action at issue.” N.Y. Civ. Rights Law § 76-a(2) (emphasis added).




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        The new statute embodies the same “actual malice” standard long in place for actions

 “involving alleged defamation against public figures or, in some cases, against private figures

 whose speech was of public concern.” See MiMedx, 2018 WL 4735717, at *8 (citation omitted).

        Novagold cannot shake free of the actual malice standard that applies to this case under

 the new New York Anti-SLAPP law (NY Civil Rights Law §70-a and §76-a):

        a. The new law, effective Nov. 10, applies expressly to anyone who has
           “commenced or continued” such an action. N.Y. Civ. Rights Law § 70-a(1)
           (emphasis added).

        b. The requirement that a plaintiff prove actual malice regardless of their public
           or private figure status is a substantive feature of the law, not a procedural
           one. N.Y. Civ. Rights Law 76-a(2).

        c. The new law has no Erie problem. It was designed to avoid Erie: Its
           substantive provisions are contained in N.Y. Civil Rights Law; and its
           separate procedural provisions (special motions and stays) appear in the
           CPLR. We are not relying on CPLR provisions. We are not making a special
           motion based on the CPLR.

        d. The new law is different than the California Anti-SLAPP. So La Liberte v.
           Reid, 966 F.3d 79 (2d Cir. 2020) does not apply to the NY statute. It is
           similar to the Nevada Anti-SLAPP which the Second Circuit did apply in
           Adelson v. Harris, 774 F.3d 803, 807, 809 (2d Cir. 2014). The Second Circuit
           in Reid made clear that the Nevada Anti-SLAPP is “quite different” from
           California’s. 966 F.3d at 86 n.3. The Second Circuit in Reid defended its
           Adelson ruling because the “effects of the [Nevada] Anti-SLAPP law. . . are
           substantive.” Id. (citation omitted).

        e. Sarah Palin recently objected on similar grounds to the application of the NY
           Anti-SLAPP law to her long standing libel case against the New York Times.
           On December 29, 2020, Judge Rakoff ruled against all Palin’s objections and
           will apply the Anti-SLAPP to her action. See Palin v. The New York Times
           Co., --- F. Supp. 3d. ----, No. 17-cv-4843-JSR, 2020 WL 7711593, at *5
           (S.D.N.Y. Dec. 29, 2020).

        f. The new law was “effective immediately” on November 10, 2020. Novagold
           chose to file its FAC on November 16. JCap gave plaintiff notice of the new
           law on Nov. 24. Plaintiff had an opportunity to withdraw and not to continue
           the action before JCap incurred further costs.




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        Novagold Is At Minimum A Limited-Purpose Public Figure. NG is not a closely held

 company; it is a publicly traded company. NG is not a company engaged in an unregulated

 business. Its activities are highly regulated for environmental impact (like the infamous Pebble

 Mine) with various public filings that reflect the very substantial public character of its open pit

 mining activities and long distance pipeline construction. To plan and seek public permits to

 build an open pit mine plus a 315-mile pipeline through central Alaska is nothing short of

 "thrust[ing] [oneself] “into the vortex of public controversy.” See, e.g., Gertz v. Robert Welch,

 Inc., 418 U.S. 323, 352 (1974).

        For NG to claim private figure status is more than disingenuous. NG’s FAC alone

 establishes NG at very least as a limited purpose public figure. NG is not a quietly run company

 operating in a little known backwater of industry. It seeks out and secures much press to

 promote its gold mining plans as the FAC boasts. And it polices criticism of its plans

 aggressively as this action demonstrates. Mr. Kaplan, NG’s principal, has – in a bit of cute

 puffery – suggested in a recent new article that Warren Buffett has supported his Donlin Gold

 project by investing in Barrick Gold. See generally Korzenik Decl. ¶1(e), Ex. E. Yet questions

 about Barrick’s interest in Donlin have been the subject of other news reports. See, e.g.,

 Korzenik Decl. ¶1(d), Ex. D. The bottom line is that NG is at very least a limited purpose public

 figure and must therefore prove and plead actual malice.

        Publicly Traded Companies Are Ordinarily Subject to the Actual Malice Requirement.

 New York courts have long recognized the public’s “interest in” and “need for information

 concerning . . . the successes, failures or manipulations of specific corporations in which

 thousands of people have invested their personal fortunes.” Fotochrome, Inc. v. New York

 Herald Tribune, Inc., 61 Misc. 2d 226, 230 (Sup. Ct. Queens Cty. 1969); accord MiMedx, 2018




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 WL 4735717, at *8 n.5 (corporation suing over “‘short and distort’ market manipulation

 conspiracy” was public figure). And they therefore expect such companies to meet the actual

 malice standard. See also Biro v. Conde Nast, 963 F. Supp. 2d 255, 270 (S.D.N.Y. 2013), aff’d,

 807 F.3d 541 (2d Cir. 2015), and aff’d, 622 F. App’x 67 (2d Cir. 2015).

        Novagold Has Failed to Plausibly Plead Actual Malice as It Must under

 Iqbal/Twombly. The Actual Malice standard requires that a libel plaintiff prove with “clear and

 convincing evidence” that the defendant published each alleged falsehood with “a subjective

 awareness of either falsity or probable falsity of the defamatory statement or acted with reckless

 disregard of its truth or falsity.” Celle, 209 F.3d at 182 (2d Cir 2000). “Reckless disregard”

 requires that “There must be sufficient evidence to permit the conclusion that the defendant in

 fact entertained serious doubts as to the truth of his publication.” St. Amant v. Thompson, 390

 U.S. 727, 731 (1968).

        “Not only is proving actual malice a heavy burden”; but “in the era of Iqbal and

 Twombly, pleading actual malice is a more onerous task as well.” Biro, 963 F. Supp. at 278

 (citations omitted) (collecting cases), aff’d, 807 F.3d 541 (2d Cir. 2015). Here NG’s FAC fails.

 To support its “actual malice” pleading, Novagold continues to rely on the allegation that JCap’s

 “intent” in publishing the Report was to “profit on short positions” it allegedly held in Novagold

 stock. See FAC ¶¶1-4, 43, 45, 51, 58. But such a “purported financial motive – standing alone –

 does not support a finding of actual malice.” MiMedx, 2018 WL 4735717, at *12 (granting Rule

 12(b)(6) dismissal of complaint alleging “short and distort” defamation conspiracy). See Harte-

 Hanks Commc’ns, Inc. v. Connaughton, 491 U.S. 657, 667 (1989) (“Nor can the fact that the

 defendant published the defamatory material in order to increase its profits suffice to prove

 actual malice.”). See also Fotochrome, 61 Misc. 2d at 231 (reporter’s alleged admission to




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 having a short seller’s interest in an article was “not in and of itself sufficient to defeat”

 defendant’s MSJ based on failure to show actual malice). A speaker’s financial interest – long,

 short or otherwise – does not count toward actual malice pleading. NG’s FAC has only pleaded

 actual malice buzzwords plus bombastic contentions regarding short-sellers and their “short and

 distort” scheme. That leaves NG’s FAC threadbare.

         “Moreover, because actual malice is a measure of the defendant's attitude toward the

 truth, not his attitude toward the plaintiff, allegations of the defendant’s bias or hostility fail

 plausibly to establish actual malice.” MiMedx at *8, quoting Egiazaryan v. Zalmayev, 2011 WL

 6097136, at *8 (S.D.N.Y 2011)*.

         All else Novagold pleads are “actual malice” buzzwords such as “reckless disregard”

 (FAC ¶¶3, 51, 58) – which are “simply not enough” to support a plausible actual malice

 inference. Biro, 963 F. Supp. at 279 (citations omitted).

         The FAC must be dismissed with prejudice, just as similarly defective complaints were

 dismissed in Biro v. Conde Nast, 807 F.3d 541, 545 (2015), cert. denied, 136 S. Ct. 2015 (2016)

 (quoting Bell v. Twombly, 550 U.S. 544, 556 (2007)); Adelson v. Harris, 973 F.Supp.2d 467, 503

 (S.D.N.Y. 2013), aff’d, 774 F.3d 803 (2d Cir. 2014); MiMedx, 2018 WL 4735717; and Lemelson

 v. Bloomberg, 903 F.3d 19 (1st Cir. 2018).

 III.    NOVAGOLD HAS FAILED TO PLEAD FALSITY OF REPORT STATEMENTS

         Because “falsity – or lack of substantial truth – is an element of a New York defamation

 claim, it follows that a plaintiff must plead facts demonstrating falsity to prevail on a motion to

 dismiss the complaint in federal court.” Tannerite Sports, LLC v. NBCUniversal News Grp., 864

 F.3d 236, 247 (2d Cir. 2017); see id. at 246-47 (collecting cases). In short, “[t]o satisfy the

 falsity element of a defamation claim, plaintiff must allege that the complained of statement is

 ‘substantially false.’” Id. at 242 (citation omitted). See also Birkenfeld v. UBS AG, 172 A.D.3d


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 566, 566 (1st Dep’t 2019) (statements that plaintiff had been “convicted in the U.S. for, among

 other things, having lied to the U.S. authorities” were “at a minimum, substantially true,”

 supported by “admitted facts” from plaintiff’s “plea agreement”). “[A] statement is substantially

 true if the statement would not have a different effect on the mind of the reader from that which

 the pleaded truth would have produced.” Tannerite, 864 F.3d at 242.

        Novagold’s FAC fails to demonstrate substantial falsity of the Report statements. In

 essence, Novagold attempts to advance a different interpretation of the same public documents to

 which the Report accurately referenced throughout. See FAC ¶10. For example:

        •   Novagold does not dispute that its statements have disclosed a projected $1.3
            billion in operating costs; it simply contends they should not be regarded
            together with Novagold’s projected initial capital expenditures of $6.7 billion.
            FAC ¶22. Yet the Report discloses that JCap has included the “capitalized
            opex” (closer to $1.4 billion) from the previous financial statements in its
            analysis of the project’s “Initial Capex” – and puts forth reasons why this
            “hidden” cost should be considered with initial costs. Report at 16.

        •   Novagold claims the Report’s statement that the “terrain around the Donlin
            deposit is among the most inhospitable on the planet” in “demonstrably false.”
            FAC ¶26; Report at 2. Yet Novagold does not dispute that the terrain along
            the pipeline route “is frozen for seven months of the year” (Report at 7). And
            the FAC even admits that “approximately 75 miles of the planned 315-mile
            route includes rugged mountainous terrain.” FAC ¶27.

        •   Elsewhere, Novagold does not dispute the cash that its insiders have realized
            from their “exercise of options.” The FAC admits that they “exercised
            options” and thereby, as the Report put it, “voted with their feet.” FAC ¶32.
            The acknowledged “exercise of options” in JCap’s view makes NG a “stock
            promote” to the primary benefit of its executives (Report at 1, 18 Table 4).
            Novagold simply would prefer to call those sales the “exercise of options.”
            FAC ¶¶34-35. That makes the Report’s account of it substantially true.

        Novagold’s failure to plead substantial falsity of these Report statements and others in is

 an additional basis on which the Court should dismiss the FAC.

 IV.    THE FAC’s Trade Libel AND DAMAGES CLAIMS SHOULD BE STRICKEN




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        Trade Libel Confined. Trade libel “is confined to denigrating the quality of a business’

 goods or services.” Ruder & Finn v. Seabord Sur. Co., 52 N.Y.2d 663, 670-71 (1981); see Eros,

 2019 WL 1129196, at *11 (dismissing disparagement claim against a short seller based on Ruder

 & Finn). The FAC’s new damages allegations (¶¶48-49) fail to plead any requisite facts

 suggesting “the publication of the false material was a substantial factor in inducing others not to

 have business dealings with it.” Penn Warranty Corp. v. DiGiovanni, 10 Misc. 3d 998, 1003

 (Sup. Ct. N.Y. Cty. 2005); see also Eros, 2019 WL 1129196, at *11 (citation omitted)

 (disparagement “is confined to denigrating the quality of a business’ goods or services”).

        Novagold has no alleged goods or services to denigrate. And JCap did not write about

 them. See also Henneberry v. Sumitomo Corp. of Am., 415 F. Supp. 2d 423, 472 (S.D.N.Y.

 2006) (dismissing as “not colorable” injurious falsehood claim where “the alleged statements

 giving rise to plaintiff’s proposed injurious falsehood claim are the same statements used in

 support of plaintiff’s defamation claim . . . . [and which] do not speak to the quality of plaintiff’s

 goods or services at all”).

        The consequence of this failure of the trade libel claim is twofold: a) Not only does that

 cause of action get dismissed, but b) with it, all the alleged “special damages” such as attorneys’

 fees and remedial press release costs must be stricken from the FAC. Not only are such damages

 not cognizable anyway in trade libel cases; but they are uncontroversially out of the question in a

 regular libel claim – where the standard American Rule applies.

        Alleged Legal Fees and PR Costs Not Cognizable or Plausibly Pleaded; Novagold Has

 Failed to Plead Proper Special Damages. The putative “special damages” that Novagold has

 tried to replead in its FAC are not permitted or cognizable even in trade libel cases. Nor have

 they been properly pleaded here. Novagold has therefore failed to plead the special damages that




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 trade libel claims require. The consequence of this is twofold: those damages allegations should

 be stricken, and with them, the trade libel cause of action.

        Trade libel, which is also referred to in New York case law as “injurious falsehood” and

 product or commercial disparagement, “is a tort separate and distinct from the tort of

 defamation.” Henneberry, 415 F. Supp. 2d at 470, citing Ruder & Finn, 52 N.Y.2d at 670-71.

 In New York,

        The elements of a claim of injurious falsehood, which is also called product
        disparagement or trade libel, are: (i) falsity of the alleged statements; (ii)
        publication to a third person; (iii) malice; and (iv) special damages. See Drug
        Research Corp. v. Curtis Publishing Co., 7 N.Y.2d 435, 440 [(1960)]. . . . The
        requirement of pleading and proving special damages is applied strictly. . . . Thus,
        a motion to dismiss a claim of injurious falsehood may be granted for failure to
        allege special damages with the requisite specificity. [See] Drug Research Corp.,
        7 N.Y.2d at 440-41. . . . (citations omitted)

 Daniels v. St. Luke’s-Roosevelt Hosp. Ctr., No. 02 CIV. 9567 (KNF), 2003 WL 22410623, at *7

 (S.D.N.Y. Oct. 21, 2003) (dismissing injurious falsehood claim under Rule 12(b)(6)). A plaintiff

 alleging trade libel “must establish that the publication of the false material was a substantial

 factor in inducing others not to have business dealings with it.” Penn Warranty, 10 Misc. 3d at

 1003 (citations omitted).

        Novagold does not allege any statements from JCap’s Report as distinct to its trade libel

 cause of action. See FAC ¶¶57-59. As such, the Court should dismiss Novagold’s trade libel

 complaint for the same reasons as discussed above. See, e.g., WDF, Inc. v. Kohler Co., 30

 A.D.3d 589, 589 (2d Dep’t 2006) (statement was nonactionable opinion); Stonebridge Capital,

 LLC v. Nomura Int’l PLC, 897 N.Y.S.2d 672, 2009 WL 2045621, at *6 (Sup. Ct. N.Y. Cty. July

 6, 2009), aff’d, 68 A.D.3d 546 (1st Dep’t 2009) (statement not “knowingly” false).




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         Although the Court granted Novagold leave to do so (see Minute Entry and Order dated

 Nov. 2, 2020), it has failed to amend its Complaint with any sufficient or cognizable special

 damages to sustain its trade libel action.

         “It has been said that, when special damages are required to be proved, they must be

 pleaded with precision. . . . Cases frequently founder on this rock.” 1 Robert D. Sack, SACK ON

 DEFAMATION: LIBEL, SLANDER, AND RELATED PROBLEMS, § 2.8.5, at 2-140 (PLI 5th ed. 2019).

 “Language which merely disparages a product is not actionable unless special damages are

 pleaded and it appears that such damage is a natural and immediate consequence of the

 disparaging statements.” Angio-Med. Corp. v. Eli Lilly & Co., 720 F. Supp. 269, 274 (S.D.N.Y.

 1989) (emphasis added), citing Drug Research Corp. v. Curtis Publishing Co., 7 N.Y.2d 435,

 440 (1960); Le Massena v. Storm, 62 A.D. 150, 154 (1st Dep’t 1901). Such special damages

 “must be fully and accurately identified with sufficient particularity to identify actual losses.”

 See, e.g., Sandler v. Simoes, 609 F. Supp. 2d 293, 303 (E.D.N.Y. 2009) (citation omitted). See

 also Fed. R. Civ. P. 9(g) (“If an item of special damage is claimed, it must be specifically

 stated.”).

         Novagold’s FAC alleges no lost profits or lost contracts. Although it cites to Charles

 Atlas, Ltd. v. Time-Life Books, Inc., 570 F. Supp. 150 (S.D.N.Y. 1983) in support of its amended

 allegations (FAC ¶48), Novagold has not alleged the type of special damages that the Charles

 Atlas court held properly pleaded.

         In Charles Atlas, the plaintiff had alleged a disparagement had “caused it to lose $30,323

 in sales and revenues and to expend $14,000 in ‘special advertising expenses’”; “at least one” of

 which was “both properly pleaded and legally sufficient” to survive motion to dismiss. 570 F.




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 Supp. at 155. 4 Novagold claims that “at least $212,000” in fees of the counsel that it engaged

 “[i]mmediately after publication of the Report” (FAC ¶49), along with “at least $201,000” worth

 of employee and management time (id.), constitute special damages. They do not.

          The Charles Atlas court itself raised questions over “[w]hether legal fees expended to

 prosecute a claim for product disparagement can be recovered as an item of special damages.”

 Charles Atlas, 570 F. Supp. at 156. But it bracketed the question, permitting the case to proceed

 in an era when complaints were not subject to a Twombly-Iqbal test. See id. at 157-58.

          Subsequent authority has resolved the Charles Atlas court’s “question” in the negative.

 In Angio, “All of the cases cited by plaintiff” in opposition to defendant’s motion to dismiss

 “include[d] instances where money was awarded for special damages including legal fees. . . . In

 no case, however, were legal fees the sole damages incurred, as is claimed here.” Id. (emphasis

 added). The Angio court held that “legal fees and executive time, standing alone do not comprise

 special damages, and, therefore, that the trade libel claim is insufficiently pleaded.” 720 F. Supp.

 at 274. This Court should reach the same conclusion and reject the special damages pleading.

          First, just because Novagold purports to divide its alleged damages into chunks of “at

 least $212,000” in legal fees and “at least $201,000 in employee time to date” (FAC ¶¶49, 57),

 that does not mean that it has even begun to itemize special harm. Drug Research Corp. v.

 Curtis Pub. Co., 7 N.Y.2d 435, 441 (1960) (“round figures, with no attempt at itemization,”

 insufficient for “libel on the product”); Penn Warranty, 10 Misc. 3d at 1005. See also Bernstein

 v. O’Reilly, No. 17 CIV. 9483 (DAB), 2019 WL 10995110, at *5 (S.D.N.Y. Sept. 26, 2019)



 4
   The FAC’s other case citation, to Bose Corp. v. Consumers Union of U.S. Inc., 529 F. Supp. 357, 365 (D. Mass.
 1981) (FAC ¶48), is a final decision after trial. Earlier in that case, ruling on a motion to dismiss, the court required
 the plaintiff to plead special damages “with a greater degree of specificity” than alleging lost profits from sales of
 $2,851,200. See Bose Corp. v. Consumers Union of U.S. Inc., 57 F.R.D. 528, 530 (D. Mass. 1973). At any rate, the
 First Circuit reversed the district court’s judgment for failure of the plaintiff to prove actual malice, and the Supreme
 Court affirmed the reversal. See 692 F.2d 189, 196-97 (1st Cir. 1982), aff’d, 466 U.S. 485 (1984).


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 (allegation that plaintiff paid “‘at least $6,500’” for “medical treatment” held to be “round

 figure” that was “insufficient to sustain Plaintiff’s allegation of special harm;” motion to dismiss

 granted); Bose, 57 F.R.D. at 530 (dismissing pleading allegation of $2,851,200 in lost profits as

 insufficiently itemized absent a basis for figure’s computation).

          Second, irrespective of alleging that it incurred legal fees “prior to the filing of this suit”

 (FAC ¶49), Novagold has not distinguished those from legal fees it has incurred for the litigation

 itself – recovery of which would be “improper” per the American Rule absent “any agreement,

 statute or court rule authorizing” such an award. Gallo v. Montauk Video, Inc., 178 Misc. 2d

 1069, 1070 (App. Term 1998) (citation omitted). No such “agreement, statute or court rule” is in

 play here.

          There is no material distinction in Novagold’s pleading between counsel’s “assist[ing]”

 the company “in analyzing” the May 28 JCap Report “(including its authors and effects),

 refuting the misstatements in the Report . . . , analyzing market activity, and clearing Novagold’s

 name” (FAC ¶49) and counsel’s drafting of the Complaint that Novagold filed just one month

 after the Report’s publication. 5 See Dkt. No. 1 (June 29, 2020). In fact, the Complaint (and the

 FAC) copies many, if not most, of its allegations from the 40-page “Fact Matrix” that Novagold

 also released in June 2020 (FAC ¶43). See “Fact Matrix in Response to May 28, 2020 JCAP

 Report,” Novagold, available at https://www.novagold.com/_resources/news/2020-06-08c.pdf

 (June 8, 2020); compare, e.g., id. at 11 (“JCAP’s statement concerning insider selling improperly

 conflates the sales of shares by insiders with the exercise of options by insiders.”), with FAC ¶35

 (JCAP’s statements concerning insider sales deliberately conflate the sale of shares by insiders

 with the exercise of options by insiders – two materially different transactions.”).


 5
  Likewise, the FAC contains no clear allegations that employees spent time on tasks separate from this litigation, or
 even pre-suit. Indeed, Novagold alleges employee time costs of “$201,000 to date.” FAC ¶49 (emphasis added).


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            Litigation costs do not constitute special damages to sustain a trade libel claim. Angio,

 720 F. Supp. at 274. “[S]uch a rule would eviscerate the requirement that special damages must

 be pleaded and proven because every plaintiff necessarily incurs attorneys’ fees and costs in

 pursuing a lawsuit.” Computerized Thermal Imaging, Inc. v. Bloomberg, L.P., No. 1:00CV98K,

 2001 WL 670927, at *4 (D. Utah Mar. 26, 2001), aff’d, 312 F.3d 1292 (10th Cir. 2002) (“CTI”),

 citing Angio, 720 F. Supp. at 274.

            Novagold’s Allegations About Stock Price Decline or Fluctuation Must Be Stricken

 Because They Fail To Allege Any Actual Realized Loss. Nor would a decrease in Novagold’s

 stock price or “market capitalization,” allegations of which linger in the FAC (¶¶1, 4, 43, 46).

 Nowhere does the FAC allege the price decline as a realized “economic loss” of Novagold’s

 own. See generally Dura Pharmaceuticals, Inc. v. Broudo, 544 U.S. 336, 346-48 (2005). This

 deficiency was recognized previously in a closely analogous libel context by a Utah district court

 in CTI. There, the court agreed with the defendant that the publicly-traded plaintiff’s complaint

 had failed “to show how a decline in its stock price harmed CTI, as opposed to its shareholders.”

 Id. at *3-4. The plaintiff also had failed to show how “mere fluctuations in the closing stock

 price” constituted “realized, liquidated and measurable losses” of its own. Id., citing Salit v.

 Ruden, McClosky, Smith, Schuster & Russell, 742 So.2d 381, 388 (Fla.Ct.App.1999). The CTI

 court rejected the plaintiff’s notion that a loss in “market capitalization” was recoverable as

 special damages – and denied the plaintiff leave to amend its Complaint “to add attorneys fees

 and costs incurred by CTI in ‘clearing’ its name.” Id. at *3. This Court should as well.

 Compare id., with FAC ¶¶4, 49. 6

                                                   CONCLUSION

            The Court should dismiss the FAC in its entirety with prejudice.

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     The FAC fails to plead any other damages specifics other than its stock price decrease. See ¶¶46-47, 50.


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